                 Case 8:24-bk-07106-RCT             Doc 117       Filed 01/31/25        Page 1 of 5




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                           Tampa Division
                                        www.flmb.uscourts.gov
    In re:

    SMART COMMUNICATIONS                                                           Chapter 11, Subchapter V
    HOLDING, INC.,                                                             Case No. 8:24-bk-07106-RCT
    and                                                                            Jointly Administered with
                                                                               Case No. 8:24-bk-07108-RCT
    SMART COMMUNICATIONS
    HOLDING, LLC.,

              Debtors.

                 DEBTORS' EMERGENCY1 MOTION FOR PROTECTIVE ORDER

             The Debtors, Smart Communications Holding, Inc. ("SC Inc.") and Smart

Communications Holding, LLC ("SC LLC," together, the "Debtors"), through undersigned counsel

and pursuant to Fed. R. Bankr. P. 7026, and Local Rules 2004-1, 7026-1, and 9013-1, hereby move

the court for entry of a protective order, declaring that they are not required to respond to the

discovery requests or deposition notices of Melvin W. Engelke III, and state:

                                      INTRODUCTION AND BACKGROUND

             SC Inc., its affiliates, and its principals over the past decade, lodging contradictory claims

over his supposed 10% ownership interest in various Smart Communications entities and the

"Smart Jail Mail concept." None of these suits was successful; and the most recent one resulted in

a Final Judgment in favor of one of the Debtors, which was affirmed on appeal. As explained

in the Debtors' recent filings, Mr. Engelke has no valid interest in this bankruptcy case, and is only

pursuing claims, interest, and discovery to continue harassing the Debtors and their sole remaining

principal, Jon Logan.



1
    "A motion for protective order shall be filed as an emergency motion under Local Rule 9013-1(d)." L.R. 2004-1.



79757907;1
             Case 8:24-bk-07106-RCT                Doc 117        Filed 01/31/25        Page 2 of 5




             EXTENSIVE LITIGATION HISTORY & LACK OF STANDING IN THESE CASES

         Over the past 13 years, Mr. Engelke has filed at least four lawsuits2 against SC Inc., its

affiliates, and principals; and he has already taken at least 11 depositions of SC Inc., its affiliates,

and insiders.3 There has also been incalculable written discovery. But, he is still asking for more;

and he is doing so in the face of a preclusive final judgment against him.4 For the reasons stated in

the Debtors' recent filings directed at Mr. Engelke's litigation tactics, it is clear that Mr. Engelke

has no claim or cognizable interest in these cases. As a result, there is no legitimate basis to subject

the Debtors to more discovery from a man whose claims "were determined to be time barred." It

is a complete waste of time and money, not to mention an abuse of the judicial process.

                                            MEMORANDUM OF LAW

         Fed. R. Civ. P. 26 allows the Court to "make any order to protect a party or person from

annoyance, embarrassment, oppression, or undue burden or expense that justice requires." And the

case law is clear that the Court has broad discretion to control discovery and protect the parties

that come before it. Chudasama v. Mazda Motor Corp., 123 F. 3d 1353, 1366 (11th Cir. 1997). The

Court's discretion to grant a motion like this, and prevent abusive discovery from a litigant with

no cognizable interest, is well-grounded in the rules and the caselaw discussed below.


2
 Engelke v. Logan, et al., Case No. 19-CA-002628 (Fla. 13th Jud. Cir. Mar. 12, 2019); Engelke v. Logan, et al., Case
No. 16-CA-004323 (Fla. 13th Jud. Cir. May 6, 2016); Engelke v. Smart Communications US, Inc., Case No. 16-CA-
000491 (Fla. 13th Jud. Cir. Jan. 1, 2016); Engelke v. Smart Communications US, Inc., Case No. 12-CA-011386 (Fla.
13th Jud. Cir. Jul. 18, 2012)
3
  To wit: Jon Logan on Feb. 15, 2019; HLFIP Holdings (through James Logan) over 2 days, Nov. 11 & 12, 2020;
Mailguard (through James Logan) on Nov. 12, 2020; Smart Comm Desoto (through James Logan) on Nov. 12, 2020;
James Logan over 2 days, Feb. 3 & 4, 2021; Smart Comm Collier (through James Logan) on Feb. 3, 2021; the Debtor,
SC Inc. (through James Logan) on Feb. 3, 2021; Smart Comm Pasco (through James Logan) on Feb. 3, 2021; Smart
Comm West (through James Logan) on Feb. 3, 2021; Jon Logan (again) on Feb. 5, 2021; and James Logan (again) on
Feb. 28, 2014.
4
 On November 9, 2022, a state trial court entered a final judgment in favor of SC Inc., ruling that the claims Engelke
brought in 2019 were time-barred. See Melvin W. Engelke, III v. James Logan, et al, Case No. 19-CA-002628 (Fla.
13th Jud. Cir. Nov. 9, 2022). The final judgment was affirmed on appeal. See Engelke v. Logan, et al., 2D2022-4063
(Fla. 2d DCA Aug. 7, 2024). And it operates as "an adjudication on the merits" for res judicata purposes. Carnival
Corp. v. Middleton, 941 So.2d 421, 424 (Fla. 3d DCA 2006) (citing Allie v. Ionata, 503 So.2d 1237, 1242 (Fla. 1987)).


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79757907;1
             Case 8:24-bk-07106-RCT         Doc 117      Filed 01/31/25     Page 3 of 5




         The courts have several tools to protect litigants from "undue burden or expense," including

protective orders. In this case, the relief requested is akin to a motion to stay discovery pending

adjudication of a dispositive motion. McCabe v. Foley, 233 F.R.D. 683, 687 (M.D. Fla. 2006)

(staying discovery based upon a "preliminary peek at the motions to dismiss"). Indeed, the relief

sought is frequently employed by federal courts looking at meritless claims like Mr. Engelke's.

See, e.g., Isaiah v. JPMorgan Chase Bank, 960 F.3d 1296 (11th Cir. 2020) (affirming stay because

"[f]acial challenges to the legal sufficiency of a claim or defense, such a motion to dismiss based

on failure to state a claim for relief, should be resolved before discovery begins." (citation

omitted)); Smith v. Travelers Ins. Co., 858 F.App'x. 292, 295 (11th Cir. 2021) (district court did

not err in staying discovery while frivolity review and motion to dismiss were pending); World

Holdings, LLC v. Fed. Republic of Germany, 701 F.3d 641, 655 (11th Cir. 2012) (there is no need

for discovery before the court rules on a motion which is to be resolved on questions of law). This

Court should apply the same reasoning and stay discovery here.

         In Chudasama, the Eleventh Circuit explained this rationale in detail:

         If the district court dismisses a nonmeritorious claim before discovery has begun,
         unnecessary costs to the litigants and to the court system can be avoided.
         Conversely, delaying ruling on a motion to dismiss such a claim until after the
         parties complete discovery encourages abusive discovery and, if the court
         ultimately dismisses the claim, imposes unnecessary costs. For these reasons, any
         legally unsupported claim that would unduly enlarge the scope of discovery should
         be eliminated before the discovery stage, if possible. Allowing a case to proceed
         through the pretrial processes with an invalid claim that increases the costs of the
         case does nothing but waste the resources of the litigants in the action before the
         court, delay resolution of the disputes between other litigants, squander scarce
         judicial resources, and damage the integrity and the public's perception of the
         federal judicial system.

123 F.3d at 1368.

         Since Mr. Engelke has no cognizable interest in these cases, he should not be permitted to

serve discovery, particularly since he has already subjected the Debtors to so much in the past.


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79757907;1
             Case 8:24-bk-07106-RCT          Doc 117     Filed 01/31/25      Page 4 of 5




                                 REQUEST FOR AWARD OF EXPENSES

         Given Mr. Engelke's lack of cognizable interest in this case and abusive litigation tactics,

the Debtors request that the Court enter an award of attorneys' fees and costs against Mr. Engelke,

for having to file this motion, pursuant to Fed. R. Bankr. P. 7026(c)(3), Fed. R. Bankr. P. 7037(a)(5),

28 U.S.C. § 1927, and the court's inherent contempt powers.

                              LOCAL RULE 7026-1(D) CERTIFICATION

         I hereby certify that the movant has conferred, in good faith, with Mr. Engelke's counsel in

an effort to resolve the issues without court action – by emails on January 30 and 31, 2025 – and

the parties were not able to agree on any portion of the motion.

         WHEREFORE, the Debtors, Smart Communications Holding, Inc. and Smart

Communications Holding, LLC, request that this Court enter a protective order and grant such

other relief that is just and proper.

Dated: January 31, 2025                    AKERMAN LLP
                                           By: /s/ John L. Dicks II
                                              John L. Dicks II
                                              Florida Bar No. 89012
                                              Email: john.dicks@akerman.com
                                              401 E. Jackson Street, Suite 1700
                                              Tampa, Florida 33602
                                              Telephone: (813) 233-7333
                                              Facsimile: (813) 223-2837

                                               Eyal Berger, Esq.
                                               Florida Bar No.: 11069
                                               Email: eyal.berger@akerman.com
                                               201 East Las Olas Blvd., Suite 1800
                                               Ft. Lauderdale, FL 33301
                                               Telephone: (954) 463-2700
                                               Fax: (954) 463-2224

                                               Special litigation counsel to Debtors




                                                  4
79757907;1
             Case 8:24-bk-07106-RCT      Doc 117     Filed 01/31/25       Page 5 of 5




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished either
electronically by CM/ECF registered participants and Local Rule 1007-2 parties in interest this
31st day of January, 2025.

                                                   /s/ John L. Dicks II




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